        Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 1 of 6 PageID #:1



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


                                                                            RECEIVED
                                                                                  Nov122015.8
                                              I
                                                                               _  //-/z-/{
                                                                               THOIUAS G BRUTON
                                                        CIVIL ACTION      CLERK, U   S   DISTRICTCOURT
(Name ofthe plaintiff or plaintiffs)

                 v.
                                                           5-cv-1 0251
                                                        1 :1
                                                        Judge Marvin E. Aspen
                                                        Magistrate Judge Michael T. Mason


(Name of the defendant or defendants)



                      COMPLAINT OF EMPLOYMENT DISCRIMINATION

1.   This is an action for employment discrimination.

2.   The plaintiff is                                                                       of the

county of                                          in the state   or 'Tl t I ol.EK
3.   The defendant is                                                                       whose

street address is                                               hr\
r.nrr   D)nnerr6r(#,,rr                           1stut.;      3-       gm;
(Defendant's telephone number)         @          K'74 tzoo
4.   The plaintiff sought employment or was employed by the defendant at (street address)

        Snl} lt-,{klorf, Qoil-,*y (city)_
     (county)              (state)   Q--      1zn coae)        bOc/UD
        Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 2 of 6 PageID #:2



5.    The plaintiff fcheck one box]

      fu)E       -
                     was denied employnent by the defendant.

      (b){           was hired and is still employed by the defendant.

      (.)n           was employed but is no longer employed by the defendant.


6.    The defendant discriminated against the plaintiff on or about, or beginning on or about,
      (month)         Z               ,@uv)4-,geary                 201{
7.1     (Choose paragraph 7.1             or   7.2, do not complete both.)

                     (a) The defendant is not a federal governmental           agency, and the   plaintiff   lcheck

                          oneboxl         tfl*,                 filed   a charge or charges against the defendant


asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:
                          /
         (i)         fr       ,n"United    States Equal Employment Opportunity Commission, on or about
                                      ,T
                     (month)                         @uv)JA-fv"ur) 201{
         (ii) E               ,n. Illinois Department of Human Rights, on or about
                     (month)                         (dav)-             (year)-.
     (b) If charges were filed with an agency indicated            above, a copy of the charge is
                     ,/
attached.      E[veS. fl *o, but plaintiff witt file a copy of the charge within 14 days.
It is the policy of both the Equal Employment Opportunity Commission and the Iltinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this case.


7.2      The defendant is a federal governmental agency, and
         (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

         defendant asserting the acts of discrimination indicated in this court complaint.
     Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 3 of 6 PageID #:3




                              Yes (month)                         (da9-             (vem)

                   V          No, did not file Complaint of Employment Discrimination

     (b)                                                       (month)
             The plaintiff received a Final Agency Decision on (month)_                /
             o^vr        /-o       (year)   x oi-/
     (c)     Attached is a copy of the

             (i)   Complaint of Employment Discrimination,

                   N ,ut           n   *o,   but a copy will be filed within 14 days.


             (ii) Final Agency Decision


                   E               E    *O, but a copy will   be filed   within   14 days.
                          "rS

8.   (Complete paragraph        I only if defendant is not afederal governmental       agency.)

     (u)fI         the United States Equal Employment Opportunity Commission has not issued


                   a   Notice of Right to Sue.


     o)fo          the United States Equal Employment Opporfunity Commission has issued a

                   Notice of R ight to Sze, which was received by the plaintiff on
                   (month)        a              @ufl   lO-(year) ) 4 15 a copy of which
                   Notice is attached to this complaint.


9.   The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

     those that applyl:


     (u)E     Age (Age Discrimination Employment Act).

     (b)E     Color (Title VII of the Civil Rights Act      of   1964   and42 U.S.C. $1981).
      Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 4 of 6 PageID #:4



           t
      t.lM     Disability (Americans with Disabilities Act or Rehabilitation Act)

      (OE      National Origin (Title VII of the Civil Rights Act    of   1964   and42 U.S.C. $1981).

      (.)f]    Race (Title   VIIof   the Civil Rights Act   of 1964 and42   U.S.C. $1981).

      (0E      Religion (Title VII of the Civil Rights Act    of 1964)
      (e)E     Sex (Title   VII ofthe Civil Rights Act of 1964)

10.   If the defendant is a state, county, municipal (city, town or village) or other local
      governmental agency, plaintiff fuither alleges discrimination on the basis of race, color,

      or national origin (42 U.S.C. g 1983).

11.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title         VII
      claims by 28 U.S.C.$1331,28 U.S.C.$13a3(a)(3), and42 U.S.C.$2000e-5(fX3); for

      42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$12117;

      for the Rehabilitation Act,29 U.S.C. $ 791.


t2.   The defendant lcheck only those that applyl


      (u)E        failed to hire the plaintiff.

      0)E         terminated the plaintiff s employment.

      (")E        failed to promote the plaintiff.

      (d)n        failed to reasonably accommodate the plaintiff     s   religion.

      A>{r^iled to reasonably accommodate the plaintiff s disabilities.
      (08    failed to stop harassment;

      tglE        retaliated against the plaintiff because the plaintiffdid something to assert
                  rights protected by the laws identified in paragraphs 9 and        l0   above;

      (h)E        other (specify):
            Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 5 of 6 PageID #:5




13.         The facts supporting the plaintiff s claim of discrimination are as follows:




                                                                                                             (<-

                                                . 6h0",^:            n .cn                              NJ

t4.         IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willtully
            discriminated against the plaintiff.

15.         The plaintiff demands that the case be tried bya jury.    E VeS E *O
16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
       fcheck only those that applyl


      (a)   tr     Direct the defendant to hire the plaintiff.

      (b)   tr     Direct the defendant to re-employ the plaintiff.

      (c)   tr     Direct the defendant to promote the plaintiff.

      (d)   tr     Direct the defendant to reasonably accommodate the plaintiff s religion.

      (e)   n      Direct the defendant to reasonably accommodate the plaintiff     s   disabilities.

      (0    d      Direct the defendant to (specirvl,
                                                        P Ag 6ac         0( (OsS r , ra,                e-


             o+ Wa4e>
      Case: 1:15-cv-10251 Document #: 1 Filed: 11/12/15 Page 6 of 6 PageID #:6




   *,d,^ilable,granttheplaintiffappropriateinjunctiverelief,lostwages,
                 liquidated/double damages, front pay, compensatory damages, punitive damages,
                 prejudgment interest, post-judgment interest, and costs, including reasonable
                 attlmey fees and expert witness fees.

   fnl{crant            such other relief as the Court may find appropriate.



   (Plaintiffs signa



   (Plaintiff s name)

                            ?.,eeA
   (Plaintiffs   street address)

    t{tiO 5trn.oote                   \-11\       ?oBov           \LqS



fcity@State)                             S-         (zlp) boUL\O
(Plaintiff s telephone number)     @b) Lo \ ltuq


                                                             ,,,., \) ts\r(
